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 8                            UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    K.D., a minor, by and through his               No. 2:23-cv-00083-DJC-JDP
      Guardian ad Litem, LAQUANTE
12
      DAVIS,
13
                       Plaintiff,                     ORDER TERMINATING DEFENDANT
14                                                    VALLEJO CITY UNIFIED SCHOOL
             v.                                       DISTRICT FROM SUIT
15
      CALIBER CHANGEMAKERS
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      ACADEMY, et. al.,
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                       Defendants.
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21         On May 23, 2023, Defendant Vallejo City Unified School District (“the District”)

22   filed a Motion to Dismiss all claims alleged against it in Plaintiff K.D.’s First Amended

23   Complaint. (ECF Nos. 27, 27-1.) After the matter was submitted (ECF No. 33), on July

24   17, 2024, this Court issued an Order granting the District’s Motion to Dismiss and

25   granting Plaintiff leave to file an amended complaint within thirty days. (ECF No. 68.)

26   Plaintiff did not file an amended complaint by that deadline. On November 6, 2024,

27   the Court issued an Order to Show Cause as to why the Court should not enter

28   judgment in favor of the District. (ECF No. 77.) More than fourteen days have passed,


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 1   and Plaintiff has not filed a response to the Court’s Order to Show Cause, requested
 2   an extension of time, or otherwise responded to the Court’s orders. While the Court
 3   has concluded that entry of judgment is not appropriate (see Fed. R. Civ. P. 54(b)), the
 4   Court will terminate the District as a defendant in this suit.
 5          Accordingly, IT IS HEREBY ORDERED that Defendant Vallejo City Unified School
 6   District is terminated as a defendant in this suit.
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 8   Dated: December 6, 2024                     /s/ Daniel J. Calabretta
                                                 THE HONORABLE DANIEL J. CALABRETTA
 9
                                                 UNITED STATES DISTRICT JUDGE
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